Case 2:05-cr-20180-SH|\/| Document 3 Filed 05/31/05 Page 1 of 2 Page|D 4

UNITED sTATEs DISTRICT coUR'r -
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WESTERN DISTRICT OF TENNESSEE
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§§0...§0.§..§.0.§..§0.§.00.§....0§§.§...§..§.§....§..*§k%§3‘§£¢.3§;*
UNITED STATES OF AMERICA

CR. No.
vs.

 

CHRISTOPHER WI LLI S

v \._¢\_r'~..z\_r

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UEN'DU'M

 

The United States Attorney's Office applies to the Court for a Writ

to have CHRISTOPHER WILLIS DOB:02 26 1954 RNI: 41216, now being

 

detained in the Criminal Justice Center_. 201 Poplar Ave., Memphis, TNf
appear before the Honorable Tu M. Pham on Wednesday, June 8th, 2005 @
2:00 p.m. for Initial Appearance and for such other appearances as this
Court may direct.

Respectfully submitted this 3__15t day of May, 2005.

 

sTEPHEi¢ P. GA/LL

Assistant U. S. Attorney
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Upon consideration of the foregoing Application, DAVID JoLLEY, U.S.
MARSHAL, WESTERN DISTRICT or-' TENNESSEE, MEMPHIS, TN., SH’ERIFF/WARREN, SHELBY CoUNTY
CRIMINAL JUsT:ccE CENTER, MEMPHIS, TN. -/
YOUR ARE HEREBY COLMANDED to have CHRI STOPHER WILLI S ,
DO]B:{}»2[26[1954c RNI: 41216, appear before the Honorable Tu M. Pham at the

date and time aforementioned.

ENTERED this _?['it day of May, 2005.

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UNITED STATES MAGISTRATE JUDGE

This dean mem entered on the docket sheet in compliance
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STRICT OURT - WEERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20180 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

